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                                 IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA AT ANCHORAGE
 WALTER E. CORRIGAN, Jr.
 ALICIA M. CORRIGAN,
                                                   Plaintiffs,
 v.                                                                 Case No. 3:17-cv-00207-SLG
 METROPOLITAN LIFE INSURANCE
 COMPANY,                                                                 STIPULATION FOR
                                                                      DISMISSAL WITH PREJUDICE
                                                  Defendant.
          The parties, by and through their respective counsel, pursuant to Rule 41(a)(1)(ii)

of the Fed. R. Civ. P., stipulate that this action be dismissed with prejudice, with each of

the parties to bear their own costs and attorney’s fees.

                                                                 LANE POWELL LLC
                                                                 Attorneys for Defendant
 Dated: February 20, 2019                                        By s/ Peter C. Partnow
                                                                   Peter C. Partnow, ABA No. 7206029

                                                                 LAW OFFICES OF MARC JUNE
                                                                 Attorneys for Plaintiff
 Dated: February 20, 2019                                        By s/ Marc W. June (w/consent)
                                                                   Marc W. June, ABA No. 8011091
 I certify that on February 20, 2019, a copy of
 the foregoing was served electronically on:
 Marc W. June, junelawyer@cs.com
 s/ Peter C. Partnow




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